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    A   Case 3:12-mj-02547-DEA
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                                       UNITED STATES DISTRICT COURT
                                          DISTRICT OF NEW JERSEY


          UNITED STATES OF AMERICA                          :       Honorable Douglas Arpert

                                                                   Mag. No, l22547 (DA)

          RANDY BiNDER

                                                                    ORDER FOR CONTiNUANCE


                     This matter ha’ing been opened to the Court by Paul J. Fishnian, United States Attorney for

          the District of New Jersey (Jonathan W. Romankow, Assistant U.S. Attorney, appearing), and

          defendant RANDY BINDER (Steven Altman. Esq., appearing), for an order granting a continuance

          of the proceedings in the above-captioned matter; and one continuance having previously been

              granted; and the defendant being awarç that he has the right to have the matter presented td a Grand

          Jury within thirty (30) days of the date of his arrest pursuant to Title 18 U.SC § 31 61; and the

              defendant through his attorney having waived such rights nd consented to the continuance; and for

          good and sufficient cause shown,

                     IT IS THE FINDING OF THIS COURT that this action should be continoed for The

              following reasons:

                             1. Plea negotiations currently are in progress, and both the United States arid the

                     defendant desire additional time to enter a plea in Court, which would thereby render trial

                     of this matter unnecessary.

                             2. Defendant has consented to the aforementioned continuance.

                             3. Thc grant of a continuance will likely conserve judicial resources.

                             4, Pursuant to Title 18 of the United States Code. Section 3161(h(7)(A), the ends

                     ofjustice served by granting the continuance outweigh the best interests ofthe public and the

                     defendants in a speedy trial.
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                           on this day Of                           ,   20124

          ORDERED that the proceedings in the above-captioned matter are continued from August

   24, 2012 through October 23, 2012; and it is further

          OTi)ERED that the period between from August 24, 2012 though October 23, 2012 shall

   be excludable in computing time under the Speedy Tria’ Act of 1974,




                                             4AP
                                        HON. DOGARPERT
                                        United States-agistrate Judge




  Form and entxy
  consented to:



  /JO,AThAN ROMANKOW
     cistant U.S. Attorney



   tL)
  STEVEN ALTMAN, Esq.
  Counsel for Defendant Randy Binder
